                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                center10985500
                                 July 13, 2016
                              No. 10-16-00227-CR
                                       
                              ANTHONY WAYNE NEAL
                                      v.
                              THE STATE OF TEXAS
                                       
                                       
                                center-4254500
                        From the 77[th] District Court
                            Freestone County, Texas
                           Trial Court No. 14-138-CR
                                       
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JUDGMENT

	This appeal has been considered by the Court.  Because the Court finds that a certification of defendant's right of appeal that shows Anthony Wayne Neal has the right of appeal has not been made a part of the record, it is the judgment of this Court that the appeal is dismissed.  
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
							PER CURIAM
						SHARRI ROESSLER, CLERK			
3040380-1206500
						By: ___________________________
							Nita Whitener, Deputy Clerk

